          Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 1 of 7




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         No. 14-302V
                                      Filed: May 6, 2016
                                      Not for Publication

*************************************
ALEXANDER KATSAROS,                           *
                                              *
               Petitioner,                    *     Damages decision based on
                                              *     stipulation; influenza (flu) vaccine;
 v.                                           *     Guillain-Barré Syndrome (GBS);
                                              *     encephalopathy
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
               Respondent.                    *
                                              *
*************************************
F. John Caldwell, Sarasota, FL, for petitioner.
Debra A. Filteau Begley, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

        On May 6, 2016, the parties filed the attached stipulation in which they agreed to settle this
case and described the settlement terms. Petitioner alleges that he suffered from Guillain-Barré
Syndrome (“GBS”) and an encephalopathy that were caused by his receipt of the influenza (“flu”)
vaccine on January 14, 2013. He further alleges that he experienced the residual effects of these
injuries for more than six months. Respondent denies that the flu vaccine caused petitioner to
suffer GBS, an encephalopathy, or any other injury. Nonetheless, the parties agreed to resolve
this matter informally.

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that all
decisions of the special masters will be made available to the public unless they contain trade secrets or
commercial or financial information that is privileged and confidential, or medical or similar information
whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a decision is
filed, petitioner has 14 days to identify and move to redact such information prior to the document=s
disclosure. If the special master, upon review, agrees that the identified material fits within the banned
categories listed above, the special master shall redact such material from public access.
          Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 2 of 7



        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$200,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2012). The award shall be in the form of a check for $200,000.00 made payable to
petitioner.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: May 6, 2016                                                         s/ Laura D. Millman
                                                                            Laura D. Millman
                                                                              Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 3 of 7
Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 4 of 7
Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 5 of 7
Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 6 of 7
Case 1:14-vv-00302-UNJ Document 38 Filed 05/27/16 Page 7 of 7
